                     Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 1 of 40                                                           FILED
                                                                                                                                  8/2/2021 1:45 PM
                                                                                                                      Rockdale County Superior Court
                                                                                                                                      e-Filed Record
                              General Civil and Domestic Relations Case Filing Information Form

                                 0 Superior or □ State Court of Rockdale County

               For Clerk Use Only
                              8/2/2021                                               2021-CV-2058
               Date Filed                                           Case Number________________
                                MM-DD-YYYY

      Plaintiff(s)                                                   Defendant(s)
      Stewart, Sean                                                   Causevic, Suvad
     Last             First           Middle I.   Suffix   Prefix     Last             First           Middle I.   Suffix    Prefix
                                                                      NC Trucking, Inc.
     Last             First           Middle I.   Suffix   Prefix     Last             First           Middle I.   Suffix    Prefix


     Last             First           Middle I.   Suffix   Prefix     Last             First           Middle I.   Suffix    Prefix


     Last             First           Middle I.   Suffix   Prefix     Last             First           Middle I.   Suffix    Prefix


      Plaintiff's Attorney                                             Bar Number_______________             Self-Represented □

                                                    Check On e Case Type in One Box

              General Civil Cases                                            Domestic Relations Cases
               H        Automobile Tort                                      □       Adoption
               □        Civil Appeal                                         □       Dissolution/Divorce/Separate
               □        Contract                                                     Maintenance
               □        Garnishment                                          □       Family Violence Petition
               □        General Tort                                         □       Paternity/Legitimation
               □        Habeas Corpus                                        □       Support - IV-D
               □        Injunction/Mandamus/Other Writ                       □       Support - Private (non-IV-D)
               □        Landlord/Tenant                                      □       Other Domestic Relations
               □        Medical Malpractice Tort
               □        Product Liability Tort                               Post-Judqment - Check One Case Type
               □        Real Property                                        □       Contempt
               □        Restraining Petition                                     □    Non-payment of child support,
               □        Other General Civil                                          medical support, or alimony
                                                                             □       Modification
                                                                             □       Other/Administrative

      □        Check if the action is related to another action(s) pending or previously pending in this court involving
               of the same parties, subject matter, or factual issues. If so, provide a case number for each.


                        Case Number                                  Case Number


      s        I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
               redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.
                                                                                                  No
      □        Is an interpreter needed in this case? If so, provide the language(s) required..
                                                                                                   Language(s) Required


      □        Do you or your client need any disability accommodations? If so, please describe the accommodation request.
               No.

                                                                                                                               Version 1.1,18



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               Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 2 of 40                                                     FILED
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                                                                                                          Rockdale County Superior Court
                                                                                                                          e-Filed Record
                               IN THE SUPERIOR COURT OF ROCKDALE COUNTY

                                                     STATE OF GEORGIA

Sean Stewart

824 Loch Haven Drive
                                                                                   CIVIL ACTION
                                                                                                2021-CV-2058
Conyers. GA 30013                                                                  NUMBER:____

                                     PLAINTIFF


                      VS.

Suvad Causevic

4638 West Addison Street

Chicago. IL 60641

                                     DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the PlaintifFs attorney, whose name
and address is:

                                           Craig D. Miller
                                           The Law Offices of Craig D. Miller, LLC
                                           5447 Roswell Road, N.E.
                                           Atlanta, GA 30342
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.
           2nd              day of      August                                  2o21_.
This


                                                                           Janice Morris,
                                                                           Clerk of Superior Court



                                                                                  Isl Andrea Chenault
                                                                           By
                                                                                         Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
               Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 3 of 40                                                     FILED
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                                                                                                                          e-Filed Record
                                IN THE SUPERIOR COURT OF ROCKDALE COUNTY

                                                      STATE OF GEORGIA

Sean Stewart

824 Loch Haven Drive
                                                                                       CIVIL ACT101vLf.2-i
                                                                                                           -CV-2058
Conyers, GA 30013                                                                      NUMBHR:

                                      PLAINTIFF


                      VS.

NC Trucking, Inc.

5423 West Lawrence Ave.

Chicago, IL 60630-3404

                                      DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the PlaintirPs attorney, whose name
and address is:
                                        Craig D. Miller
                                        The Law Offices of Craig D. Miller, LLC
                                        5447 Roswell Road, N.E.
                                        Atlanta, GA 30342

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This         2nd            da,, of         August________________ 20^1            .


                                                                           Janice Morris,
                                                                           Clerk of Superior Court


                                                                                  Is/ Andrea Chenault
                                                                                          Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
      Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 4 of 40
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                                                                                              Rockdale County Superior Court
                                                                                                              e-Filed Record




                    IN THE SUPERIOR COURT OF ROCKDALE COUNTY
                                 STATE OF GEORGIA

SEAN STEWART,                                       )
                                                    )
        Plaintiff Stewart,                         )
                                                   )     ^™ail-CV-2058
vs.                                                )
                                                   )
SUVAD CAUSEVIC and                                 )
NC TRUCKING, INC.                                  )     JURY TRIAL DEMANDED
                                                   )
        Defendants.                                )

               COMPLAINT FOR DAMAGES FOR PAIN AND SUFFERING.
                           AND MEDICAL EXPENSES

        COMES NOW SEAN STEWART, Plaintiff Stewart in the above styled action, who hereby

files this Complaint for Damages for Pain and Suffering, and Medical Expenses, by showing this

court as follows:

                             PARTIES. VENUE. AND JURISDICTION

                                                    1.

        This action arises from an April 17,2019 motor vehicle collision that occurred in Whitfield

County, Georgia.

                                                   2.

       A Certificate of Timeliness has been filed along with this Complaint for Damages which

shows that the statute of limitations as it applies to the subject incident has not and will not bar the

filing of this lawsuit until August 17, 2021, in accordance with the Third Order Extending

Declaration of Statewide Judicial Emergency which was issued on June 12, 2020.
    Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 5 of 40




                                                 3.

       Plaintiff Sean Stewart (hereinafter referred to as “Plaintiff Stewart”) presently resides in

Rockdale County, Georgia.

                                                 4.

       Defendant Suvad Causevic (hereinafter referred to as “Defendant Causevic”) is a resident

of Cook County, IL and may be personally served with process by serving him at his residence at

4638 West Addison Street, Chicago, IL 60641.

                                                 5.

       Defendant Causevic was a resident of Illinois at the time of the subject collision. Defendant

Causevic may be properly served by service upon the Secretary of State of Georgia in accordance

with Georgia’s Nonresident Motorist Act (O.C.G.A. §40-12-2).

                                                 6.

       Defendant Causevic is subject to both the jurisdiction and venue of this Court.

                                                 7.

       Defendant NC Trucking, Inc. is an Illinois corporation transacting business in the State of

Georgia.

                                                 8.

       Defendant NC Trucking, Inc. may be served by serving its registered agent for service,

Jadranka Ivosevic-Causevic, at its registered address, to wit; 5423 West Lawrence Ave., Chicago,

IL 60630-3404.

                                                 9.

       Defendant NC Trucking, Inc. may be properly served by service upon the Secretary of

State of Georgia in accordance with Georgia’s Nonresident Motorist Act (O.C.G.A. §40-12-2).




                                                 2
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                                                     10.

        Defendant NC Trucking, Inc. is subject to both the jurisdiction and venue of this Court.




                                  FACTUAL ALLEGATIONS

                                                     11.

        On April 17, 2019, Defendant Causevic was operating a white 2006 Freightliner Casacia

tractor-trailer truck.

                                                     12.

        At approximately 12;48 p.m.. Defendant Causevic was traveling in the right lane on 1-75

northbound near mile marker 326, inside the City of Dalton in Whitfield County, Georgia.

                                                     13.

        At said time and place. Plaintiff Stewart was operating a white 2016 Chevrolet Cutaway

DRW motor vehicle in the middle lane on 1-75 northboimd near mile marker 326, inside the City

of Dalton in Whitfield County, Georgia.

                                                     14.

        Defendant Causevic performed an improper lane change, in violation of O.C.G.A. §40-6-

123, and he caused the trailer of the truck he was driving to collide with the front passenger’s

side of the vehicle Plaintiff Stewart was driving.

                                                     15.



        At the time of this incident. Defendant Causevic was an employee, an agent of NC

Trucking, Inc., and he was acting in the course of, and within the scope of, his employment with

NC Trucking, Inc. Consequently, vmder fimdamental principles of agency and respondeat

superior. Defendant NC Trucking, Inc., as the employer of Defendant Causevic, is legally liable



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for Defendant Causevic’s negligent acts and omissions, with regard to the subject April 17, 2019

collision with Plaintiff Stewart.


                                                  16.

        The negligence of Defendant Causevic caused a significant collision involving property

damage to the vehicle Plaintiff Stewart was driving.

                                                  17.

        Defendant Causevic was issued a warning for improper lane change, in violation of

O.C.G.A. §40-6-123, by the investigating police officer, J. Day of the Georgia State Patrol

(GSPA/Post 5).

                                                  18.

        At all times during this incident. Plaintiff Stewart conducted himself in a safe and lawful

marmer, he was wearing his seatbelt and safety shoulder harness, he was driving within the posted

speed limit, and he was using due care for himself and for the driving public.

                                                  19.

        Plaintiff Stewart did not in any way cause or contribute to the subject collision which was

exclusively caused by Defendant Causevic’s negligence.




                                           COUNTI
                                        INEGLIGENCEl

                                                 20.

        The allegations contained in paragraph 1 through 19 of Plaintiff Stewart’s Complaint are

hereby incorporated by reference and made a part hereof, as if each such allegation was fiilly set

forth herein.




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                                                   21.

       Defendant Causevic owed duties of exereising due and reasonable eare to Plaintiff Stewart

as well as to the other motorists on the road.

                                                   22.

       Defendant Causevic breached those duties owed to Plaintiff Stewart by operating the

Freightliner tractor-trailer he was driving in an unsafe, reckless, and negligent manner.

                                                   23.

       Defendant Causevic’s negligence, which constituted the direct and proximate cause of

injury to Plaintiff Stewart, consisted of the following:

    1. Improper lane change, in violation of O.C.G.A. §40-6-123; which constitutes negligence

       per se;

   2. Failure to maintain lane, in violation of O.C.G.A. §40-6-48; which constitutes negligence

       per se;

    3. Reckless driving, in violation of O.C.G.A. §40-6-390, which constitutes negligence per se;

   4. Failing to keep a proper lookout;

    5. Failing to observe or undertake necessary precautions to avoid causing a collision with

       Plaintiff Stewart’s vehicle;

    6. Failing to maintain reasonable control of his vehicle;

    7. Failing to exercise reasonable care;

    8. Failing to take evasive or other reasonable actions in order to prevent or minimize the

       impact between the vehicles; and

    9. Committing other negligent acts and omissions, as shall be shown by the evidence and

       proven at trial.




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                                                     24.

          As a direct and proximate result of Defendant Causevic’s negligence, as stated above,

Plaintiff Stewart sustained serious, painful injuries, including, but not limited to his: lumbar spine,

right hip, right knee, and right foot.

                                                     25.

          As a direct and proximate result of Defendant Causevic’s negligence, as stated above.

Plaintiff Stewart has also suffered and will continue to suffer into the future, for the rest of his life,

the following: emotional distress as well as physical pain and suffering and loss of enjoyment of

life.

                                                     26.

         As a direct and proximate result of the injuries sustained in the collision caused by the

negligence of the Defendant Causevic, Plaintiff Stewart has incurred medical expenses totaling

$104,547.88 to date, and he will continue to incur and require reasonable and necessary medical

expenses in the future, due to the severe and painful nature of his injuries. Plaintiff Stewart’s

collision-related medical special damages to date are itemized as follows:




                                                    6
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                  Provider                       Date(s) of Service                 Charges
 Emory Decatur Hospital                                4/17/19                   $        2,365.37

 CEP America, EEC                                      4/17/19                   $            656.00

 Concentra Medical Centers                     4/18/2019-6/03/2019               $        2,907.86
 Northside Hospital Forsyth                            5/15/19                   $        4,506.00

 Northside Radiology Associates                        5/15/19                   $            337.00

 OneCall (Medical Transportation)              5/15/2019-9/02/2020              $         2,159.90
 Athens Orthopedic Clinic - Eogansville
                                               5/28/2019-8/11/2020
 (Dr. Julian Price)                                                             $        44,055.00
 Gwiimett County Fire and Emergency
                                                       6/6/19
 Services                                                                        $        1,110.00
 Eastside Medical Center                               6/6/19                    $        3,111.59

 Constellation Emergency Physicians, EEC                6/6/19                   $        1,137.00
 Anesthesia Consultants of Athens                      6/19/19                   $        1,862.00
 Piedmont Athens Regional Hospital                     6/19/19                   $        3,353.00

 Benchmark Physical Therapy                    8/13/2019- 10/19/2020             $       26,486.50
 MSC Group, Inc.                                8/8/2019 - 8/21/2020             $        9,390.66
                                                       11/26/19                  $        1,110.00
 Gwiimett County EMS
                                                12/21/2020-3/4/2021            To Be Determined.
 Hillandale Primary Care
 Resurgens Orthopaedics                                6/30/21                 To Be Determined.
                                                                                 $      104,547.88



                                                 27.

       Due to the nature, extent, and severity of Plaintiff Stewart’s collision-related injuries.

Plaintiff Stewart was disabled from performing the duties of his employment, which resulted in

lost income in an amount to be determined and proven at trial.

                                                 28.

       By reason of the foregoing. Plaintiff Stewart is entitled to recover compensatory damages

from Defendants for his past, present and future emotional and physical pain and suffering, in such




                                                 7
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an amount as shall be shown by the evidence and determined by the enlightened conscience of the




        By reason of the foregoing, Plaintiff Stewart is entitled to recover special damages from

Defendants for his collision-related medical expenses, past and future, and his lost income, in such

amoimts as shall be shown by the evidence and proven at trial.

        WHEREFORE, Plaintiff Stewart prays and respectfully demands verdict and judgment as

follows:

   a.   That summons and process issue and that Defendants be served with a copy of this

        Summons and Complaint as required by law and that Defendants be required to appear and

        answer;

   b. That Plaintiff Stewart be awarded compensatory damages from Defendants for Plaintiff

        Stewart’s past, present, and future physical and emotional pain and suffering and for all the

        consequential damages as may be shown by the evidence and determined in the enlightened

        conscience of the jury;

   c.   That Plaintiff Stewart be awarded special damages from Defendants for Plaintiff Stewart’s

        past and future medical expenses and lost income in such amounts as shall be shown by

        the evidence and proven at trial;

   d. That Defendants be charged with all court costs reasonably incurred in the prosecution and

        trial of this case;

   e.   That Plaintiff Stewart be granted a trial by jury; and

   f.   That Plaintiff Stewart be granted such other and further relief as may be authorized by law.




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      Respectfully submitted this    day of August 2021.




THE LAW OFFICES OF CRAIG D. MILLER, LLC

5447 Roswell Road                                          Craig D. Miller
Atlanta, Georgia 30342                                     Georgia State Bar No.: 506513
Tele.: (404)593-2715
Fax: (404)264-1149
Craig.Miller@millerpersonalinjury.com
Katie.Boatwright@millerpersonalinjury.com                  Katie M. Boatwright
Attorneys for Plaintiff Stewart Sean Stewart               Georgia State Bar No.: 553205




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                     IN THE SUPERIOR COURT OF ROCKDALE COUNTY
                                  STATE OF GEORGIA

SEAN STEWART,                                     )
                                                  )
        Plaintiff,                                )
                                                  ) CIVIL AC^^cV-2058
vs.                                               ) FILE NO.:__________________
                                                  )
SUVAD CAUSEVIC and                                )
NC TRUCKING, INC.                                 ) JURY TRIAL DEMANDED
                                                  )
        Defendants.                               )

                               CERTIFICATE OF TIMELINESS

        Pursuant to Supreme Court Rule 11.1, Plaintiff certifies that this filing of Plaintiffs
Complaint for Damages for Pain and Suffering and Medical Expenses is timely submitted, taking
into account the suspension of filing deadlines as prescribed by the original Order Declaring
Statewide Judicial Emergency entered on March 14, 2020 and as extended or otherwise
prescribed by the Third Order Extending Declaration of Statewide Judicial Emergency.
Specifically:

            a) This filing was originally due on April 17, 2021.
            b) The number of days that remained before the date specified in (a), as of the
               suspension of the deadline on March 14, 2020 was 399 days.
            c) This filing is timely because it is being filed within the number of days specified
               in (b), counting from July 14, 2020.

       To the extent the deadline for this filing has been affected by a local judicial emergency
order entered by the chief judge of a superior court or by any case-specific trial court order, a
copy of such order(s) is attached hereto.

        Respectfully submitted, this 2'’*’ day of August 2021.




                                                      Craig D. Miller
                                                      Georgia State Bar No.: 506513
                                                      Craig.m i 11 er@mi 1 lerpersonalinjury.com


                                                      Katie M Boatwright
                                                      Georgia State Bar No.: 553205
                                                      Katie.boatwright@millerpersonalinjury.com
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                                                          FILED
                                                 Administrative Minutes
                                                    June 12^ 2020
            SUPREME COURT OF         GEORGIA.
                                                   Therese S. Barnes
                                                 Clerk/Court Executive
                                            SUPI^ME COURjT <M GEORGIA




        THIRD ORDER EXTENDING DECLARATION OF
            STATEWIDE JUDICIAL EMERGENCY

      On March 14, 2020, in response to the COVID-19 pandemic, the
Honorable Harold D. Melton, as the Chief Justice of the Supreme Court
of Georgia, issued an Order Declaring Statewide Judicial Emergency
pursuant to OCGA § 38-3-61. That Order has been extended twice, with
modifications, by orders issued on April 6 and May 11, 2020. After
consulting with the Judicial Council of Georgia, the Judicial COVID-19
Task Force, and other judicial partners, and recognizing again that most
in-court proceedings compel the attendance of various individuals rather
than allowing them to decide how best to protect their own health, it is
hereby determined that the Order should be extended again, but with
significant modifications.

      The work of the courts in Georgia has diligently gone forward on
essential and critical matters, and most courts have continued some non-
essential court operations, in particular by using technology to conduct
proceedings remotely, but more must be done. Therefore, as detailed
below, with the exception of jury trial proceedings and most grand jury
proceedings, this extension order announces a plan to reimpose as of July
14, 2020, many of the deadlines imposed by law on litigants in civil and
criminal cases that have been suspended, tolled, or extended since the
initial Order on March 14, in order to allow more pending cases and
newly filed cases to move forward in the judicial process again. All
Georgia courts must continue, however, to conduct proceedings, remotely
or in-person, in compliance with public health guidance, applicable
statutes and court rules, and the requirements of the United States and
Georgia Constitutions, including the public’s right of access to judicial
proceedings and a criminal defendant’s rights to confrontation and an
open courtroom.
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      Accordingly, the Order Declaring Statewide Judicial Emergency,
which would have expired on Friday, June 12, 2020, at 11:59 p.m., is
further extended until Sunday, July 12, 2020, at 11:59 p.m. All Georgia
courts shall continue to operate under the restrictions set forth in that
Order as extended, with the following clarifications, modifications, and
directions. Where this order refers to “public health guidance,” courts
should consider the most specific current guidance provided by the
federal Centers for Disease Control and Prevention (CDC), the Georgia
Department of Public Health (DPH), and their local health departments.


I.     Continued Prohibition on Jury Trial Proceedings and Most
       Grand Jury Proceedings

      (A) Current public health guidance recommends social distancing
and other measures that make it impracticable for courts to protect the
health of the large groups of people who are normally assembled for jury
proceedings, including jury selection. Accordingly, the suspension of jury
trials shall remain in effect and until further order, all courts are
prohibited from summoning new trial jurors and grand jurors and from
conducting criminal or civil jury trials.

      (B) Grand juries that are already impaneled or are recalled from
a previous term of court may meet to attend to time-sensitive essential
matters, but these grand juries should not be assembled except when
necessary and only under circumstances in which social distancing and
other public health guidance can be followed. A guidance document about
the continued authority of grand juries impaneled prior to the issuance
of the Order is included in the Appendix to this order.

      (C) As directed by the May 11 extension order, the Judicial Covid-
19 Task Force is developing policies, procedures, and templates to allow
the safe resumption of jury trials and grand jury proceedings. These
materials should be available in July 2020, but it is unlikely that any
jury proceedings will begin until August or later.




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II.     Plan for the Reimposition of Deadlines

      (A) This order announces a plan to reimpose all deadlines and
other time schedules and filing requirements (referred to collectively
herein as “deadlines”) that are imposed on litigants by statutes, rules,
regulations, or court orders in civil and criminal cases and administrative
actions and that have been suspended, tolled, extended, or otherwise
relieved by the March 14, 2020 Order Declaring Statewide Judicial
Emergency, as extended, on the following schedule and with the following
exceptions and conditions:

           (1) Consistent with Section I above, deadlines for jury
trial proceedings (including statutory speedy trial demands),
deadlines for grand jury proceedings, and deadlines calculated
by reference to the date of a civil or criminal jury trial or grand
jury proceeding shall remain suspended and tolled. This provision
does not apply to deadlines calculated by reference to the date of non­
jury (bench) trials.

         (2) All other deadlines imposed on litigants shall be
reimposed effective as of July 14, 2020, as further explained below.

             (3) This will mean that for cases that were pending
before the March 14 Order, litigants will have the same amount of
time to file or act after July 14 that they had as of March 14. For example,
if an answer in a civil case was due on March 20, that answer will now
be due on July 20, and if a criminal defendant’s pretrial motions were
due on March 23, they will now be due on July 23.

          (4) This will mean that for cases filed between March 14
and July 13, 2020, the time for deadlines will begin running on July 14.
For example, if a civil complaint was filed in June and the answer would
have been due 30 days later, that 30-day period will begin on July 14 and
the answer will be due on August 13.

            (5) This will mean that for cases filed on or after July
14, 2020, litigants will have the normal deadlines applicable to the case.


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             (6) If the reimposed deadline falls on a weekend or legal
holiday, the deadline will as normal be the next business day. See OCGA
§ 1-3-1 (d) (3).

            (7) Any extension of time for a litigant’s filing or action
that was granted by a court, or was agreed or consented to by the litigants
as authorized by law, before July 14, 2020 shall also extend the time for
that filing or action after July 14. For example, if a litigant’s filing was
initially due on March 10 but she was granted a 10-day extension of that
deadline (to March 20), the filing will be due on July 24 (10 days after
July 14).

           (8) Litigants maj^ be entitled to additional time based on the
provisions of a local judicial emergency order applicable to their case if
such an order tolled applicable deadlines before the March 14, 2020
Order Declaring Statewide Judicial Emergency or tolls applicable
deadlines after July 14, 2020.

           (9) The tolling and suspension of deadlines imposed on
litigants in civil and criminal cases that are calculated by reference
to terms of court shall be lifted as of July 14, 2020, and any regular
term of court beginning on or after July 14 shall count toward such
deadlines. See also the May 4, 2020 Guidance on Deadlines and Time
Limits Defined by Reference to Terms of Court included in the Appendix.

            (10) The 122 days between March 14 and July 14, 2020, or
any portion of that period in which a statute of limitation would have
run, shall be excluded from the calculation of that statute of limitation.

           (11) Litigants may apply in the normal way for extensions of
reimposed deadlines for good cause shown, and courts should be generous
in granting extensions particularly when based upon health concerns,
economic hardship, or lack of child care.

      (B) Recognizing the substantial backlog of pending cases,
deadlines imposed on courts shall remain suspended and tolled.
All courts should nevertheless work diligently to clear the backlog and to


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comply with usual deadlines and timetables to the extent safe and
practicable.

      (C) To address the backlog of cases before deadlines on litigants
are reimposed more generally as of July 14, 2020, judges should utilize
the authorization provided to them in the May 11 extension order
to reimpose deadlines on a case-by-case basis after considering the
particular circumstances of the case, including any public health
concerns and known individual health, economic, and other concerns
regarding the litigants, lawyers, witnesses, and other persons who may
be involved in the case. The judge must enter a written order in the
record for the case identifying the filing deadlines that are being
established. A case-specific order reimposing deadlines shall
control over the deadlines for the same filings or actions that will
be reimposed by statewide order.

    (D) To assist in evaluating this plan to reimpose deadlines,
comments are solicited from judges, lawyers, and the general public.
Comments should be delivered in Word or PDF format by email to
JCTFcomments@gasupreme.us.


III. Proceedings Conducted Remotely Using Technology

     (A) All courts are encouraged to continue to use and increase
the use of technology to conduct remote judicial proceedings as a
safer alternative to in-person proceedings.

     (B) Courts should understand and utilize the authority provided
and clarified by the emergency amendments made to court rules on
videoconferences and teleconferences.

      (C) Courts may compel the participation of litigants, lawyers,
witnesses, and other essential personnel in remote judicial proceedings,
including civil non-jury trials and other non-jury adjudicative
proceedings, where allowed by court rules (including emergency
amendments thereto). Such proceedings, however, must be consistent
with public health guidance, must not impose undue burdens on
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participants, and must not be prohibited by the requirements of the
United States or Georgia constitutions or applicable statutes or court
rules.

      (D) In civil, criminal, juvenile, and administrative proceedings,
litigants may expressly consent in the record to remote proceedings not
otherwise authorized and affirmatively waive otherwise applicable legal
requirements.

      (E) Courts must ensure the public’s right of access to judicial
proceedings and in all criminal cases, unless affirmatively waived in the
record, a criminal defendant’s rights to confrontation and an open
courtroom.


IV. In-Person Proceedings Under Guidelines for Safe Operations

      (A) Except for jury and grand jury proceedings, courts have
discretion to conduct in-person judicial proceedings, but only in
compliance with public health guidance and with the requirements of the
United States and Georgia constitutions and applicable statutes and
court rules, including the public’s right of access to judicial proceedings
and a criminal defendant’s rights to confrontation and an open
courtroom.

      (B) Each court should develop and implement operating
guidelines as to how in-court proceedings generally and particular types
of proceedings will be conducted to protect the health of litigants,
lawyers, judges, court personnel, and the public. The Judicial Council
Strategic Planning Committee and the Judicial Covid-19 Task Force
have issued a bench card entitled “Georgia Court Reopening Guide,”
which is included in the Appendix and may be used as the template for
such operating guidelines.

     (C) Courts of different classes that share courthouse facilities or
operate in the same county should seek to coordinate their operating
guidelines.


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      (D) Each court must submit its operating guidelines to the
Administrative Office of the Courts at https://georgiacourts.gov/covid-19-
court-opera ting-guidelines-form/             to    be     posted      at
https://georgiacourts.gov/covid-19-court-operating-guidelines/      as a
centralized website available to litigants, lawyers, and the public.
Operating guidelines also should be prominently posted at courthouse
entrances and on court and local government websites to provide advance
notice to litigants, lawyers, and the public.

     (E) Operating guidelines should be modified as public health
guidance is modified, and shall remain in effect until public health
guidance indicates that they are no longer required.


V.     Discretion of Chief Judges to Declare More Restrictive
       Local Judicial Emergencies

      (A) Nothing in the Order Declaring Statewide Judicial
Emergency as extended and modified limits the authority of the Chief
Judge of a superior court judicial circuit under OCGA §§ 38-3-61 and 38-
3-62 to add to the restrictions imposed by the statewide judicial
emergency, if such additional restrictions are constitutional, necessitated
by local conditions, and to the extent possible ensure that courthouses or
properly designated alternative facilities remain accessible to carry out
essential judicial functions.

      (B) No court may disregard the restrictions imposed by the Order
as extended and modified.




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VI. Guidance on Application of the Order

      Included in the Appendix are several guidance documents that
clarify the application of the Order in particular contexts. Additional
guidance documents may be posted on the AOC’s website at
https://georgiacourts.gov/judicial-council/aoc/. Guidance related to the
tolling of deadlines should be read in light of the reimposition of deadlines
planned for by this order and by orders in specific cases.


VII. Professionalism

      With regard to all matters in this challenging time, all lawyers are
reminded of their obligations of professionalism. Judges are also
reminded of their obligation to dispose of all judicial matters promptly
and efficiently, including by insisting that court officials, litigants, and
their lawyers cooperate with the court to achieve that end, although this
obligation must not take precedence over the obligation to dispose of
matters fairly and with patience, which requires sensitivity to health and
other concerns raised by court officials, litigants and their lawyers,
witnesses, and others.


VTII. Notice Provisions

     (A) Notice will be provided as to the expected termination of the
Order as extended and modified at least one week in advance to allow
courts to plan for the transition to fuller operations.

      (B) The clerks and court administrators of trial courts that
conduct jury trials and convene grand juries will be provided sufficient
notice of the resumption of jury proceedings to allow the complicated
process of summoning potential jurors to be completed.

      (C) The impact of COVID-19 varies across the state, and the level
of response and adjustment will likewise vary among courts. Courts
should make available to the public the steps they are taking to safely
increase operations while responding to the COVID-19 pandemic.
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Recognizing that not all courts have a social media presence or website,
the Administrative Office of the Courts will continue to post court-specific
information as it becomes available on the AOC website at
https://georgiacourts.gov/covid-19-preparedness/.

      (D) Pursuant to OCGA § 38-3-63, notice and service of a copy of
this order shall immediately be sent to the judges and clerks of all courts
in this State and to the clerk of the Court of Appeals of Georgia, such
service to be accomplished through means to assure expeditious receipt,
which include electronic means. Notice shall also be sent to the media,
the State Bar of Georgia, and the officials and entities listed below and
shall constitute sufficient notice of the issuance of this order to the
affected litigants, counsel for the affected litigants, and the public.

     IT IS SO ORDERED this 12th day of June, 2020.




                                          Chief Justice Harold D. Melton
                                            Supreme Court of Georgia




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                            APPENDIX


      Guidance on Tolling of Filing Deadlines (March 27. 2020)


     Guidance on Tolling of Statutes of Limitation (April 6. 2020)


Guidance on Deadlines and Time Limits Defined by Reference to Terms
                       of Court (May 4, 2020)


               Guidance on Grand Juries (May 4, 2020)


          Further Guidance on Grand Juries (Mav 11. 2020)


           Georgia Court Reopening Guide (June 11. 2020)




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Governor Brian P. Kemp
Lt. Governor Geoff Duncan
Speaker David Ralston
State Bar of Georgia
Administrative Office of the Courts
Judicial Council of Georgia
Council of Superior Court Clerks of Georgia
Department of Juvenile Justice
Criminal Justice Coordinating Council
Council of Accountability Court Judges
Georgia Commission on Dispute Resolution
Institute of Continuing Judicial Education of Georgia
Georgia Council of Court Administrators
Chief Justice’s Commission on Professionalism
Judicial Qualifications Commission
Association County Commissioners of Georgia
Georgia Municipal Association
Georgia Sheriffs’ Association
Georgia Association of Chiefs of Police
Georgia Public Defender Council
Prosecuting Attorneys’ Council of Georgia
Department of Corrections
Department of Community Supervision
Georgia Court Reporters Association
Board of Court Reporting
State Board of Pardons and Paroles
Constitutional Officers Association of Georgia
Council of Magistrate Court Clerks
Council of Municipal Court Clerks



                                       SUPREME COURT OF THE STATE OF GEORGIA
                                                Clerk’s Office. Atlanta

                                            1 certify that the above is a true extract from the
                                  minutes of the Supreme Court of Georgia.
                                            Witness my signature and the seal of said court hereto
                                  affixed the day and year last above written.




                                                                                    , Clerk
     Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 25 of 40                                              FILED
                                                                                                        9/1/2021 7:51 AM
                                                                                           Rockdale County Superior Court
                                                                                                           e-Filed Record




                       IN THE SUPERIOR COURT OF ROCKDALE COUNTY
                                    STATE OF GEORGIA

SEAN STEWART,

        Plaintiff,
V.                                                   Civil Action File No. 2021-CV-2058

SUVAD CAUSEVIC and
NC TRUCKING, INC.,

        Defendants.

                DEFENDANT NC TRUCKING. INC.'S ANSWER AND DEFENSES
                            TO PLAINTIFF’S COMPLAINT

        Defendant NC Trucking, Inc., files its answer and defenses to Plaintiffs Complaint and

respectfiilly shows the Court as follows;

                                        FIRST DEFENSE

        Plaintiff may not recover against this Defendant because it breached no legal duty owed

to Plaintiff.

                                      SECOND DEFENSE

        Plaintiff may not recover against this Defendant because no act or omission of this

Defendant was the proximate cause of the injuries complained of by Plaintiff.

                                        THIRD DEFENSE

        This Defendant asserts its right of apportionment according to the provisions of O.C.G.A.

§ 51-12-33(b).

                                      FOURTH DEFENSE

        Plaintiff may only recover against this Defendant based on its percentage of fault, if any,

according to the provisions of O.C.G.A. § 51-12-31.
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                                        FIFTH DEFENSE

       Plaintiff may not recover against this Defendant based on Plaintiffs failure to exercise

ordinary care for their own safety.

                                        SIXTH DEFENSE

       Plaintiff may not recover against this Defendant because Plaintiffs negligence exceeded

the negligence, if any, of this Defendant.

                                      SEVENTH DEFENSE

       Plaintiffs alleged damages, if any, were directly and proximately caused by Plaintiffs

own contributory and comparative negligence and failure to exercise ordinary care.

                                       EIGHTH DEFENSE

       Defendant asserts the defense of insufficient service of process.

                                       NINTH DEFENSE

       Plaintiffs claims may be barred by the statute of limitations.

                                       TENTH DEFENSE

       Pending further discovery, this Defendant asserts any and all defenses that may be

waivable under O.C.G.A. §9-1 l-8(c).

                                      ELEVENTH DEFENSE

       In further response to Plaintiffs Complaint, this Defendant responds as follows:

                          PARTIES. VENUE. AND JURISDICTION

                                                1.

       This Defendant admits Plaintiffs lawsuit relates to a motor vehicle collision that

occurred in Whitfield County, Georgia on or around April 17, 2019.




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                                                  2.

          This Defendant admits a certificate of timeliness has been filed. This Defendant lacks

sufficient information and knowledge to admit or deny that this lawsuit was timely filed and

reserves its right to assert that Plaintiffs claims are barred by the statute of limitations.

                                                  7
                                                  m* •




          This Defendant lacks sufficient information and knowledge to admit or deny the

allegations of Paragraph 3 of Plaintiff s Complaint and, therefore, places Plaintiff on strict proof

thereof

                                                  4.

        This Defendant admits the allegations in Paragraph 4 of Plaintiff s Complaint.

                                                  5.

        This Defendant admits that he is a resident of Illinois. This defendant neither admits nor

denies that process was properly served upon the Secretaiy of State. This Defendant denies that

Plaintiff has been properly served under O.C.G.A §40-12-2.

                                                  6.

        This Defendant does not challenge that this Court may have jurisdiction over this matter.

This Defendant does not challenge that Rockdale County may be a proper venue. However, this

Defendant asserts its right to remove this case to the United States District Court in the Northern

District of Georgia based on the diversity of citizenship between the parties and the amount in

controversy.




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                                                  7.

        This Defendant admits NC Trucking is an Illinois Corporation. This Defendant lacks

sufficient information and knowledge to admit or deny the remaining allegations of Paragraph 7

of Plaintiff s Complaint and, therefore, places Plaintiff on strict proof thereof.

                                                  8.

        This Defendant admits the allegations of Paragraph 8 in Plaintiffs Complaint.

                                                  9.

        This Defendant admits that he is a resident of Illinois. This defendant neither admits nor

denies that process was properly served upon the Secretary of State. This Defendant denies that

Plaintiff has been properly served under O.C.G.A §40-12-2.

                                                 10.

        This Defendant does not challenge that this Court may have jurisdiction over this matter.

This Defendant does not challenge that Rockdale County may be a proper venue. However, this

Defendant asserts its right to remove this case to the United States District Court in the Northern

District of Georgia based on the diversity of citizenship between the parties and the 2unount in

controversy.

                                   FACTUAL ALLEGATIONS

                                                 11.

       This Defendant admits the allegations in Paragraph 11 of Plaintiff s Complaint.

                                                 12.

       This Defendant admits Defendant Causevic was traveling in the right lane on 1-75

northbound. This Defendant can neither admit nor deny the remaining allegations in Paragraph




                                                 -4-
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12 of Plaintiff s Complaint for lack of sufficient information upon which to form a belief as to

the truth of the matters asserted and, therefore, places Plaintiff on strict proof of same.

                                                 13.

        This Defendant can neither admit nor deny the allegations in Paragraph 13 of Plaintiff s

Complaint for lack of sufficient information upon which to form a belief as to the truth of the

matters asserted and, therefore, places Plaintiff on strict proof of same.

                                                 14.

        This Defendant denies the allegations in Paragraph 14 of Plaintiff s Complaint.

                                                 15.

        This Defendant admits Causevic was an employee at the time of the incident. This

Defendant denies the remaining allegations set forth in Paragraph 15. This Defendant denies any

wrongdoing on behalf of Causevic and further denies any action or inaction or that this

Defendant was the proximate cause of any injury to Plaintiff.

                                                 16.

        This Defendant denies the allegations in Paragraph 16 of Plaintiff s Complaint.

                                                 17.

        This Defendant can neither admit nor deny the allegations in Paragraph 17 of Plaintiff s

Complaint for lack of sufficient information upon which to form a belief as to the truth of the

matters asserted and, therefore, places Plaintiff on strict proof of same.

                                                 18.

       This Defendant denies the allegations in Paragraph 18 of Plaintiff s Complaint.

                                                 19.

       This Defendant denies the allegations in Paragraph 19 of Plaintiff s Complaint.




                                                 - 5-
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                                            COUNT I
                                         fNEGLIGENCE)

                                                 20.

        Defendant realleges and incorporates its responses contained in Paragraphs 1-19 as if

fully restated herein.

                                                 21.

        This Defendant admits Causevic owes certain duties to other drivers under Georgia law.

This Defendant denies Causevic breached any such duty.

                                                 22.

        This Defendant denies the allegations in Paragraph 22 of Plaintiff s Complaint.

                                                 23.

        This Defendant denies the allegations in Paragraph 23 of Plaintiff s Complaint, and all

subparts.

                                                 24.

        This Defendant denies the allegations in Paragraph 24 of Plaintiff s Complaint.

                                                 25.

        This Defendant denies the allegations in Paragraph 25 of Plaintiff s Complaint.

                                                 26.

        This Defendant denies the allegations in Paragraph 26 of Plaintiff s Complaint.

                                                 27.

        This Defendant can neither admit nor deny the allegations in Paragraph 27 of Plaintiff s

Complaint for lack of sufficient information upon which to form a belief as to the truth of the

matters asserted and, therefore, places Plaintiff on strict proof of same.




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                                                  28.

       This Defendant denies the allegations in Paragraph 28 of Plaintiff s Complaint.

                                                  29.

       This Defendant denies the allegations in Paragraph 29 of Plaintiff s Complaint.

       All other allegations in Plaintiffs Complaint not otherwise hereinbefore responded to are

denied. This Defendant denies Plaintiffs prayer for relief and further denies that Plaintiff is

entitled to any relief against this Defendant.

       WHEREFORE having fully answered, this Defendant respectfully requests that the

instant civil action be inquired into and dismissed with costs assessed against the Plaintiff


       TRIAL BY JURY IS DEMANDED.

       Respectfully submitted this 1st day of September, 2021.

                                                 DREW ECKL & FARNHAM, LLP

                                                 fs/ Matthew A. Nanninga_______________________
                                                 Matthew A. Nanninga, Georgia Bar No. 159070
                                                 Robert A. Quinn, Georgia Bar No. 473668
                                                 Attorneys for Defendant - NC Trucking, Inc.

303 Peachtree Street, NE, Suite 3500
Atlanta, Georgia 30308
(404) 885-1400
mnanninga@deflaw.com
rQuinn@deflaw.com




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    Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 32 of 40




                                CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the within and foregoing

Defendant NC Trucking, Inc.'s Answer and Defenses to Plaintiffs Complaint upon all

parties concerned by electronically filing a copy of the within and foregoing by using Odyssey

eFileGA which will automatically send email notification of such filing to the following attorney

of record as follows:

                                         Craig D. Miller
                                      Katie M. Boatwright
                           The Law Offices of Craig D. Miller, LLC
                                       5447 Roswell Road
                                     Atlanta, Georgia 30342
                            craig.miller@niillerpersonaliniuiv.com
                          lvatie.boatwright@millerpersonaliniurv.com


       This 1st day of September, 2021.


                                            /s/ Matthew A. Nanninga____________________
                                            Matthew A. Nanninga, Georgia Bar No. 159070
                                            Robert A. Quinn, Georgia Bar No. 473668
                                            Attorneys for Defendant - NC Trucking, Inc.
DREW ECKL & FARNHAM, LLP
303 Peachtree Street, NE, Suite 3500
Atlanta, Georgia 30308
(404) 885-1400
mnanninga@deflaw.com
rauinn@deflaw.cQm
     Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 33 of 40                                              FILED
                                                                                                        9/1/2021 7:51 AM
                                                                                           Rockdale County Superior Court
                                                                                                           e-Filed Record




                       IN THE SUPERIOR COURT OF ROCKDALE COUNTY
                                    STATE OF GEORGIA

SEAN STEWART,

        Plaintiff,
V.                                                      Civil Action File No. 2021-CV-2058


SUVAD CAUSEVIC and
NC TRUCKING, INC.,

        Defendants.

                DEFENDANT SUVAD CAUSEVIC'S ANSWER AND DEFENSES
                           TO PLAINTIFF’S COMPLAINT

        Defendant Suvad Causevic, files his answer and defenses to Plaintiffs Complaint and

respectfully shows the Court as follows:

                                        FIRST DEFENSE

        Plaintiff may not recover against this Defendant because it breached no legal duty owed

to Plaintiff.

                                      SECOND DEFENSE

        Plaintiff may not recover against this Defendant because no act or omission of this

Defendant was the proximate cause of the injuries complained of by Plaintiff.

                                       THIRD DEFENSE

        This Defendant asserts its right of apportionment according to the provisions of O.C.G.A.

§ 51-12-33(b).

                                      FOURTH DEFENSE

        Plaintiff may only recover against this Defendant based on its percentage of fault, if any.

according to the provisions of O.C.G.A. § 51-12-31.
    Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 34 of 40




                                        FIFTH DEFENSE

       Plaintiff may not recover against this Defendant based on Plaintiffs failure to exercise

ordinary care for their own safety.

                                        SIXTH DEFENSE

       Plaintiff may not recover against this Defendant because Plaintiff s negligence exceeded

the negligence, if any, of this Defendant.

                                      SEVENTH DEFENSE

       Plaintiffs alleged damages, if any, were directly and proximately caused by Plaintiffs

own contributory and comparative negligence and failure to exercise ordinary care.

                                       EIGHTH DEFENSE

       This Defendant asserts the defense of insufficient service of process.

                                        NINTH DEFENSE

       This Defendant asserts the statute of limitations defense.

                                        TENTH DEEENSE

       This Defendant reserves his right to assert defenses under O.C.G.A §9-1 l-12(b) should

discovery give rise to facts relevant to the application of any said defenses.

                                      ELEVENTH DEFENSE

       In further response to Plaintiffs Complaint, this Defendant responds as follows:

                          PARTIES. VENUE. AND JURISDICTION

                                                 1.

       This Defendant admits Plaintiffs lawsuit relates to a motor vehicle collision that

occurred in Whitfield County, Georgia on or around April 17, 2019.




                                                - 2-
    Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 35 of 40




                                                   2.


        This Defendant admits a certificate of timeliness has been filed. This Defendant lacks

sufficient information and knowledge to admit or deny that this lawsuit was timely filed and

reserves its right to assert that Plaintiffs claims are barred by the statute of limitations.

                                                   3.

        This Defendant lacks sufficient information and knowledge to admit or deny the

allegations of Paragraph 3 of Plaintiff s Complaint and, therefore, places Plaintiff on strict proof

thereof.

                                                  4.

        This Defendant admits the allegations in Paragraph 4 of Plaintiff s Complaint.

                                                   5.

        This Defendant admits that he is a resident of Illinois. This defendant neither admits nor

denies that process was properly served upon the Secretary of State. This Defendant denies that

Plaintiff has been properly served under O.C.G.A §40-12-2.

                                                   6.

        This Defendant does not challenge that this Court may have jurisdiction over this matter.

This Defendant does not challenge that Rockdale County may be a proper venue. However, this

Defendant asserts its right to remove this case to the United States District Court in the Northern

District of Georgia based on the diversity of citizenship between the parties and the amount in

controversy.




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                                                 7.

       This Defendant admits NC Trucking is an Illinois Corporation. This Defendant lacks

sufficient information and knowledge to admit or deny the remaining allegations of Paragraph 7

of Plaintiff s Complaint and, therefore, places Plaintiff on strict proof thereof

                                                 8.

       This Defendant admits the allegations of Paragraph 8 in Plaintiffs Complaint.

                                                 9.

       This Defendant admits that he is a resident of Illinois. This defendant neither admits nor

denies that process was properly served upon the Secretary of State. This Defendant denies that

Plaintiff has been properly served under O.C.G.A §40-12-2.

                                                 10.

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This Defendant does not challenge that Rockdale County may be a proper venue. However, this

Defendant asserts its right to remove this case to the United States District Court in the Northern

District of Georgia based on the diversity of citizenship between the parties and the amount in

controversy.

                                  FACTUAL ALLEGATIONS

                                                 11.

       This Defendant admits the allegations in Paragraph 11 of Plaintiff s Complaint.

                                                 12.

       This Defendant admits Defendant he was traveling in the right lane on 1-75 northbound.

This Defendant can neither admit nor deny the remaining allegations in Paragraph 12 of




                                                - 4-
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Plaintiffs Complaint for lack of sufficient information upon which to form a belief as to the truth

of the matters asserted and, therefore, places Plaintiff on strict proof of same.

                                                 13.

        This Defendant can neither admit nor deny the allegations in Paragraph 13 of Plaintiff s

Complaint for lack of sufficient information upon which to form a belief as to the truth of the

matters asserted and, therefore, places Plaintiff on strict proof of same.

                                                 14.

        This Defendant denies the allegations in Paragraph 14 of Plaintiff s Complaint.

                                                 15.

        This Defendant admits he was an employee at the time of the incident. This Defendant

denies the remaining allegations set forth in Paragraph 15. This Defendant denies any

wrongdoing on behalf of himslef and further denies einy action or inaction or that this Defendant

was the proximate cause of any injury to Plaintiff.

                                                 16.

        This Defendant denies the allegations in Paragraph 16 of Plaintiff s Complaint.

                                                 17.

       This Defendant can neither admit nor deny the allegations in Paragraph 17 of Plaintiff s

Complaint for lack of sufficient information upon which to form a belief as to the truth of the

matters asserted and, therefore, places Plaintiff on strict proof of same.

                                                 18.

       This Defendant denies the allegations in Paragraph 18 of Plaintiff s Complaint.

                                                 19.

       This Defendant denies the allegations in Paragraph 19 of Plaintiff s Complaint.




                                                 -5-
    Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 38 of 40




                                            COUNT I
                                         rNEGLIGENCE^

                                                 20.

        Defendant realleges and incorporates its responses contained in Paragraphs 1-19 as if

fully restated herein.

                                                 21.

        This Defendant admits he owes certain duties to other drivers under Georgia law. This

Defendant denies he breached any such duty.

                                                 22.

        This Defendant denies the allegations in Paragraph 22 of Plaintiff s Complaint.

                                                 23.

        This Defendant denies the allegations in Paragraph 23 of Plaintiff s Complaint, and all

subparts.

                                                 24.

        This Defendant denies the allegations in Paragraph 24 of Plaintiff s Complaint.

                                                 25.

        This Defendant denies the allegations in Paragraph 25 of Plaintiff s Complaint.

                                                 26.

        This Defendant denies the allegations in Paragraph 26 of Plaintiff s Complaint.

                                                 27.

        This Defendant can neither admit nor deny the allegations in Paragraph 27 of Plaintiffs

Complaint for lack of sufficient information upon which to form a belief as to the truth of the

matters asserted and, therefore, places Plaintiff on strict proof of same.




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    Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 39 of 40




                                                  28.

       This Defendant denies the allegations in Paragraph 28 of Plaintiff s Complaint.

                                                  29.

       This Defendant denies the allegations in Paragraph 29 of Plaintiff s Complaint.

       All other allegations in Plaintiffs Complaint not otherwise hereinbefore responded to are

denied. This Defendant denies Plaintiffs prayer for relief and further denies that Plaintiff is

entitled to any relief against this Defendant.

       WHEREFORE having fully answered, this Defendant respectfully requests that the

instant civil action be inquired into and dismissed with costs assessed against the Plaintiff.


       TRIAL BY JURY IS DEMANDED.

       Respectfully submitted this 1st day of September, 2021.

                                                 DREW ECKL & FARNHAM, LLP

                                                 /s/ Matthew A. Nanninga_______________________
                                                 Matthew A. Nanninga, Georgia Bar No. 159070
                                                 Robert A. Quinn, Georgia Bar No. 473668
                                                 Attorneys for Defendant - Suvad Causevic

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rqi.iinn@denaw.com




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    Case 1:21-cv-03636-WMR Document 1-1 Filed 09/01/21 Page 40 of 40




                                CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the within and foregoing

Defendant Suvad Causevic's Answer and Defenses to Plaintiffs Complaint upon all parties

concerned by electronically filing a copy of the within and foregoing by using Odyssey eFileGA

which will automatically send email notification of such filing to the following attorney of record

as follows:

                                          Craig D. Miller
                                       Katie M. Boatwright
                            The Law Offices of Craig D. Miller, LLC
                                        5447 Roswell Road
                                    Atlanta, Georgia 30342
                             craig.mil [er@mi I lerDersQiialiniurv.com
                           katie.boatwright@milleinersonaliniurv.com



       This 1st day of September, 2021.


                                             /s/ Matthew A. Nanninga____________________
                                             Matthew A. Nanninga, Georgia Bar No. 159070
                                             Robert A. Quinn, Georgia Bar No. 473668
                                             Attorneys for Defendant - Suvad Causevic
DREW ECKL & FARNHAM, LLP
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rauinn@deflaw.com
